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8
     Attorneys for Plaintiff,
9    Florence Morris
10
                               UNITED STATES DISTRICT COURT
11                           SOUTHERN DISTRICT OF CALIFORNIA
12
         FLORENCE MORRIS,                          Case No: '17CV2075 LAB JMA
13       individually and on behalf of
14       others similarly situated,                CLASS ACTION
15                               Plaintiff,        COMPLAINT FOR DAMAGES
16                                                 AND INJUNCTIVE RELIEF:
         vs.
17                                                   1. UNLAWFUL RECORDING
18                                                      OF CELLULAR
                                                        COMMUNICATIONS
19
         SUNRISE CREDIT SERVICES,                       UNDER CALIFORNIA
                                                        PENAL CODE SECTION
20       INC.,                                          632.7
21                                                   2. INVASION OF PRIVACY
                                 Defendant.             INTRUSION INTO PRIVATE
22                                                      AFFAIRS
23
                                                   JURY TRIAL DEMANDED
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     Class Action Complaint for Damages
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1                                               INTRODUCTION
2    1.     Florence Morris (“Plaintiff”), individually and on behalf of all others similarly
3           situated California residents (“Class Members”), brings this action for damages
4           and injunctive relief against Sunrise Credit Services, Inc. (hereinafter, referred
5           to as “Defendant”), and its present, former, or future direct and indirect parent
6           companies, subsidiaries, affiliates, agents, related entities for unauthorized
7           recordings of conversations with Plaintiff and Class Members without any
8           notification nor warning to Plaintiff or Class Members in violation of the
9           California Invasion of Privacy Act, Cal. Pen. Code § 630, et seq. (“CIPA”).
10   2.     The California State Legislature passed CIPA in 1967 to protect the right of
11          privacy of the people of California, replacing prior laws which permitted the
12          recording of telephone conversations with the consent of one party to the
13          conversation. California Penal Code § 632.7 was added to CIPA in 1992 due to
14          specific privacy concerns over the increased use of cellular and cordless
15          telephones. Section 632.7 prohibits intentionally recording all communications
16          involving       cellular      and   cordless   telephones,   not   just   confidential
17          communications.
18   3.     Plaintiff makes these allegations on information and belief, with the exception of
19          those allegations that pertain to Plaintiff, or to Plaintiff’s counsel, which
20          Plaintiff alleges on her personal knowledge.
21   4.     Unless otherwise stated, all the conduct engaged in by Defendant took place in
22          California.
23   5.     All violations by Defendant were knowing, willful, and intentional, and
24          Defendant did not maintain procedures reasonably adapted to avoid any such
25          violation.
26   6.     Unless otherwise indicated, the use of Defendant’s names in this Complaint
27          includes all agents, employees, officers, members, directors, heirs, successors,
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1           assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
2           the named Defendant.
3                                         Jurisdiction and Venue
4    7.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff seeks
5           $5,000 in damages for each violation of the CIPA, which, when aggregated
6           among a proposed class number in the tens of thousands, exceeds the
7           $5,000,000 threshold for federal court jurisdiction. Further, Plaintiff alleges a
8           statewide class, which will result in at least one class member belonging to a
9           different state than that of the Defendant, providing jurisdiction under 28 U.S.C.
10          § 1332(d)(2)(A).         Here, Plaintiff is a citizen of California, and Defendant is a
11          citizen of New York. Therefore, the elements of the Class Action Fairness Act
12          of 2005 (“CAFA”) are met, and this Court has jurisdiction.
13   8.     Venue is proper in the United States District Court for the Southern District of
14          California pursuant to 28 U.S.C. §§ 1391(b) because Defendant, at all times
15          herein mentioned, was doing business in the County of San Diego, State of
16          California. Further, venue is proper in this district because Plaintiff has resided
17          in this district at all times herein mentioned such that a substantial part of the
18          events giving rise to the claim occurred in this district.
19                                                 Parties
20   9.     Plaintiff is, and at all times mentioned herein was, an individual citizen and
21          resident of the State of California, City of San Diego, in this judicial district.
22   10.    Plaintiff is informed and believes, and thereon alleges, that Sunrise Credit
23          Services, Inc. is, and at all times mentioned herein was, a corporation registered
24          in the state of New York with its principal place of business in the state of New
25          York. Plaintiff alleges that at all times relevant herein Defendant conducted
26          business in the State of California, in the County of San Diego, within this
27          judicial district.       Defendant is, and at all times mentioned herein was, a
28          “person”, as defined by Cal. Pen. Code § 632(b).

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1                                         F ACTUAL A LLEGATIONS
2    11.    From sometime in April 2017, Defendant began calling Plaintiff’s cellular
3           telephone number ending in “1230.”
4    12.    Defendant records all of its outbound and inbound telephonic conversations for
5           quality purposes.
6    13.    On or around April 22, 2017 at 8:43 AM, Defendant called Plaintiff on her
7           cellular telephone ending 1230. Defendant called from the telephone number
8           619-371-3089.
9    14.    During the telephonic conversation on or about April 22, 2017, Plaintiff and
10          Defendant discussed Plaintiff’s alleged financial obligations allegedly owed to
11          Defendant.
12   15.    The telephonic conversation on April 22, 2017 lasted approximately two (2)
13          minutes, and at no point during the conversation with Defendant was Plaintiff
14          advised that the conversation was being recorded by Defendant, nor did Plaintiff
15          consent to the call being recorded.
16   16.    On or around May 25, 2017 at 8:07 AM, Defendant called Plaintiff on her
17          cellular telephone ending 1230. Defendant called from the telephone number
18          619-371-3089. Defendant’s conversation with Plaintiff lasted approximately
19          two (2) minutes.
20   17.    Again, at no point during the two-minute conversation with Defendant was
21          Plaintiff advised that the conversation was being recorded by Defendant, nor did
22          Plaintiff consent to the call being recorded.
23   18.    On or around June 24, 2017 at 8:06 AM, Defendant called Plaintiff on her
24          cellular telephone ending 1230. Defendant called from the telephone number
25          619-371-3089.
26   19.    At no point during the conversation with Defendant was Plaintiff advised that
27          the conversation was being recorded by Defendant, nor did Plaintiff consent to
28          the call being recorded.

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1    20.    On or around July 27, 2017 at 2:15 PM, Defendant called Plaintiff on her
2           cellular telephone ending 1230. Defendant called from the telephone number
3           619-371-3089.
4    21.    At no point during approximately four-minute conversation with Defendant on
5           July 27, 2017, was Plaintiff advised that the conversation was being recorded by
6           Defendant, nor did Plaintiff consent to the call being recorded.
7    22.    Defendant recorded all telephonic calls with Plaintiff, without providing any
8           disclosure to Plaintiff regarding its unauthorized and surreptitious recording.
9    23.    On or around August 25, 2017, Plaintiff’s attorney Daniel G. Shay (“Attorney”)
10          called Plaintiff and spoke with Defendant’s representative Jackie Smith. At the
11          end of the call Attorney asked Defendant’s representative whether the call was
12          being recorded.          Defendant’s representative responded, “yes, all calls are
13          monitored and recorded for quality assurance.” (emphasis added).
14   24.    Upon information and belief, Defendant records all of its telephone calls,
15          including the calls between Plaintiff and Defendant described above.
16   25.    Plaintiff was personally affected by Defendant’s aforementioned conduct
17          because Plaintiff was shocked, upset and angry that Defendant audio recorded
18          one or more cellular telephone conversations with Plaintiff without Plaintiff’s
19          knowledge or consent.
20   26.    California Penal Code § 632.7(a) is very clear in its prohibition against such
21          unauthorized tape recording without the consent of the other party to the
22          conversation: “Every person who, without the consent of all parties to a
23          communication, intercepts or receives and intentionally records, or assists in the
24          interception or reception and intentional recordation of, a communication
25          transmitted between two cellular radio telephones, a cellular radio telephone and
26          a landline telephone, two cordless telephones, a cordless telephone and a
27          landline telephone, or a cordless telephone and a cellular radio telephone
28          [violates this section]”. California Penal Code § 637.2 permits Plaintiff to bring

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1           this action for any violation of California Penal Code § 632.7(a) and provides
2           for statutory damages of $5,000.00 for each violation.
3    27.    Defendant recorded or otherwise made an unauthorized connection to the
4           Plaintiff’s conversations with Defendant and its employees in violation of
5           California’s statutory and common law against such unlawful intrusions into a
6           person’s private affairs, including the California Constitution’s prohibition in
7           Article 1, Section 1.
8    28.    This suit seeks only damages and injunctive relief for recovery of economic
9           injury and it expressly is not intended to request any recovery for personal injury
10          and claims related thereto.
11   29.    Plaintiff is informed and believes, and thereon alleges, that Defendant
12          intentionally recorded a communication transmitted between a cellular radio
13          telephone and a landline telephone without Plaintiff’s consent as prohibited by
14          California Penal Code § 632.7(a).
15   30.    Defendant violated Plaintiff’s constitutionally protected privacy rights by failing
16          to advise or otherwise provide notice at the beginning of the recorded
17          conversations with Plaintiff that the calls would be recorded and Defendant did
18          not try to obtain the Plaintiff’s consent before such recording.
19   31.    The recording or other unauthorized connection was done over the telephone,
20          without Plaintiff’s prior knowledge or consent. Plaintiff was damaged thereby,
21          as detailed herein, in at least an amount permitted by the statutory damages
22          mandated by California Penal Code § 637.2(a).
23   32.    Defendant, and its employees and agents, surreptitiously recorded calls made by
24          Defendant to Plaintiff. At no time before the calls was Plaintiff warned, told,
25          advised or otherwise given any indication by Defendant, its employees or
26          agents, that the calls would be recorded.
27   33.    As a result thereof, Plaintiff has been damaged as set forth in the Prayer for
28          Relief herein.

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1    34.    Plaintiff seeks statutory damages and injunctive relief under California Penal
2           Code § 637.2.
3                                         CLASS ACTION ALLEGATIONS
4    35.    Plaintiff brings this lawsuit as a class action on behalf of herself and Class
5           Members of the proposed Class pursuant to Federal Rules of Civil Procedure
6           23(a) and (b)(3) and/or (b)(2).                This action satisfies the numerosity,
7           commonality, typicality, adequacy, predominance, and superiority requirements
8           of those provisions.
9    36.    Plaintiff proposes the following Class consisting of and defined as follow:
10                   All persons in California whose cellular telephone
11
                     conversations were recorded without their consent by
                     Defendant and/or its agent/s within the one year prior to the
12                   filing of the Complaint.
13
     37.    Excluded from the Class are: (1) Defendant, any entity or division in which
14
            Defendant has a controlling interest, and its legal representatives, officers,
15
            directors, assigns, and successors; (2) the Judge to whom this case is assigned
16
            and the Judge’s staff; and (3) those persons who have suffered personal injuries
17
            as a result of the facts alleged herein.
18
     38.    Plaintiff reserves the right to redefine the Class and to add subclasses as
19
            appropriate based on discovery and specific theories of liability
20
     39.    Numerosity: The Class Members are so numerous that joinder of all members
21
            would be unfeasible and impractical. The membership of the entire Class is
22
            currently unknown to Plaintiff at this time; however, given that, on information
23
            and belief, Defendant called thousands of class members nationwide and
24
            recorded those calls during the class period, it is reasonable to presume that the
25
            members of the Class are so numerous that joinder of all members is
26
            impracticable. The disposition of their claims in a class action will provide
27
            substantial benefits to the parties and the Court.
28

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1    40.    Commonality: There are common questions of law and fact as to Class Members
2           that predominate over questions affecting only individual members, including,
3           but not limited to:
4              • Whether, within the statutory period Defendant recorded any call with the
5                  Class Members;
6              • Whether Defendant had, and continue to have, a policy during the relevant
7                  period of recording telephone calls made to the Class Members;
8              • Whether Defendant’s policy or practice of recording telephone
9                  communications with Class Members constitutes an invasion of privacy
10                 and a violation of Cal. Penal Code § 632.7;
11             • Whether Plaintiff and the Class Members were damaged thereby, and the
12                 extent of damages for such violation; and
13             • Whether Defendant should be enjoined from engaging in such conduct in
14                 the future.
15   41.    Typicality Plaintiff’s conversations were unlawfully recorded without a warning
16          of such recording, and thus, her injuries are also typical to Class Members.
17   42.    Plaintiff and Class Members were harmed by the acts of Defendant in at least
18          the following ways: Defendant, either directly or through its agents, illegally
19          recorded the Plaintiff and Class Members’ conversations with Defendant, and
20          Defendant invading the privacy of said Plaintiff and Class. Plaintiff and Class
21          Members were damaged thereby.
22   43.    Adequacy: Plaintiff is qualified to, and will, fairly and adequately protect the
23          interests of each Class Member with whom she is similarly situated, as
24          demonstrated herein. Plaintiff acknowledges that she has an obligation to make
25          known to the Court any relationships, conflicts, or differences with any Class
26          Member. Plaintiff’s attorneys, the proposed class counsel, are versed in the
27          rules governing class action discovery, certification, and settlement. In addition,
28          the proposed class counsel is experienced in handling claims involving

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     Class Action Complaint for Damages
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1           consumer actions and violations of the California Penal Code section 632.7.
2           Plaintiff has incurred, and throughout the duration of this action, will continue to
3           incur costs and attorneys’ fees that have been, are, and will be, necessarily
4           expended for the prosecution of this action for the substantial benefit of each
5           Class Member.
6    44.    Predominance: Questions of law or fact common to the Class Members
7           predominate over any questions affecting only individual members of the Class.
8           The elements of the legal claims brought by Plaintiff and Class Members are
9           capable of proof at trial through evidence that is common to the Class rather
10          than individual to its members.
11   45.    Superiority: A class action is a superior method for the fair and efficient
12          adjudication of this controversy because:
13               a.     Class-wide damages are essential to induce Defendants to comply with
14                    California law.
15               b.     Because of the relatively small size of the individual Class Members’
16                    claims, it is likely that only a few Class Members could afford to seek
17                    legal redress for Defendant’s misconduct.
18               c.     Management of these claims is likely to present significantly fewer
19                    difficulties than those presented in many class claims.
20               d.     Absent a class action, most Class Members would likely find the cost
21                    of litigating their claims prohibitively high and would therefore have no
22                    effective remedy at law.
23               e.     Class action treatment is manageable because it will permit a large
24                    number of similarly situated persons to prosecute their common claims in
25                    a single forum simultaneously, efficiently, and without the unnecessary
26                    duplication of effort and expense that numerous individual actions would
27                    endanger.
28               f.     Absent a class action, Class Members will continue to incur damages,

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1                    and Defendant’s misconduct will continue without remedy.
2    46.    Plaintiff and the Class Members have all suffered and will continue to suffer
3           harm and damages as a result of Defendant’s unlawful and wrongful conduct. A
4           class action is also superior to other available methods because as individual
5           Class Members have no way of discovering that Defendant recorded their
6           telephone conversations without Class Members’ knowledge or consent,
7           especially since Defendant’s representatives at times falsely state that they do
8           not record such conversations.
9    47.    The Class may also be certified because:
10             • the prosecution of separate actions by individual Class Members would
11                  create a risk of inconsistent or varying adjudication with respect to
12                  individual Class Members, which would establish incompatible standards
13                  of conduct for Defendant;
14             • the prosecution of separate actions by individual Class Members would
15                  create a risk of adjudications with respect to them that would, as a
16                  practical matter, be dispositive of the interests of other Class Members
17                  not parties to the adjudications, or substantially impair or impede their
18                  ability to protect their interests; and
19             • Defendant has acted or refused to act on grounds generally applicable to
20                  the Class, thereby making appropriate final and injunctive relief with
21                  respect to the members of the Class as a whole.
22   48.    This suit seeks only damages and injunctive relief for recovery of economic
23          injury on behalf of Class Members and it expressly is not intended to request
24          any recovery for personal injury and claims related thereto. Plaintiff reserves
25          the right to expand Class definitions to seek recovery on behalf of additional
26          persons as warranted as facts are learned in further investigation and discovery.
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1    49.    The joinder of Class Members is impractical and the disposition of their claims
2           in the Class action will provide substantial benefits both to the parties and to the
3           court. The Class Members can be identified through Defendant’s records.
4                                  FIRST CAUSE OF ACTION
5
                    ILLEGAL RECORDING OF CELLULAR PHONE CONVERSATIONS
                            UNDER CALIFORNIA PENAL CODE § 632.7
6
7    50.    Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs.

8    51.    At all relevant times hereto, Defendant had and followed a policy and practice

9           of using a telecommunications system that enabled it to surreptitiously record

10          cellular telephone communications between Defendant and Plaintiff and Class

11          Members.

12   52.    At all relevant times hereto, Defendant intentionally and surreptitiously

13          recorded cellular telephone calls concerning confidential matters between

14          Defendant and Plaintiff and Class Members.

15   53.    At all relevant times hereto, Defendant had and followed a policy and practice

16          of not advising or warning Plaintiff and Class Members that their cellular

17          telephone communications with Defendant would be recorded.

18   54.    Defendant failed to obtain consent of Plaintiff and Class Members prior to

19          recording any of their cellular telephone conversations.

20   55.    This conduct by Defendant violated section 632.7(a) of the California Penal

21          Code.

22   56.    Plaintiff and Class Members are entitled to recovery of statutory damages in the

23          amount of $5,000.00 per violation of Cal. Pen. Code § 632.7.

24   57.    Plaintiff’s counsel is also entitled to attorneys’ fees and costs pursuant to Cal.

25          Code of Civ. Proc. § 1021.5.

26                                 SECOND CAUSE OF ACTION
                      INVASION OF PRIVACY INTRUSION INTO PRIVATE AFFAIRS
27
28   58.    Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs.

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1    59.    At all relevant times hereto, Defendant had and followed a policy and practice of
2           using a telecommunications system that enabled it to surreptitiously record
3           cellular telephone communications between Defendant and Plaintiff and Class
4           Members.
5    60.    At all relevant times hereto, Defendant intentionally and surreptitiously recorded
6           cellular telephone calls concerning confidential matters between Defendant and
7           Plaintiff and Class Members.
8    61.    At all relevant times hereto, Defendant had and followed a policy and practice of
9           not advising or warning Plaintiff and Class Members that their cellular
10          telephone communications with Defendant would be recorded.
11   62.    Defendant failed to obtain consent of Plaintiff and Class Members prior to
12          recording any of their cellular telephone conversations.
13   63.    This conduct by Defendant violated section 632.7(a) of the California Penal
14          Code.
15   64.    Plaintiff and Class Members are entitled to recovery of statutory damages in the
16          amount of $5,000.00 per violation of Cal. Pen. Code § 632.7.
17   65.    Plaintiff’s counsel is also entitled to attorneys’ fees and costs pursuant to Cal.
18          Code of Civ. Proc. § 1021.5.
19                                        PRAYER FOR RELIEF
20           WHEREFORE, Plaintiff and the Class Members pray that judgment be entered
21   against Defendant, and Plaintiff be awarded damages from Defendant, as follows:
22   •       Certify the Class as requested herein;
23   •       Appoint Plaintiff to serve as the Class Representative for the Class;
24   •       Appoint Plaintiff’s Counsel as Class Counsel in this matter for the Class;
25   •       In addition, Plaintiff and the Class Members pray for further judgment as
26          follows against Defendant:
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1          ILLEGAL TELEPHONE RECORDING OF CELLULAR PHONE CONVERSATIONS
2
                        UNDER CALIFORNIA PENAL CODE § 632.7

3    •     Special, general, compensatory and punitive damages;
4    •     As a result of Defendant’s violation of California Penal Code Sections 630 et
5          seq., Plaintiff seeks statutory damages of $5,000.00 pursuant to California Penal
6          Code § 637.2(a);
7    •     Reasonable attorneys’ fees pursuant to Cal. Code of Civ. Proc. § 1021.5;
8    •     Injunctive relief to prevent the further occurrence of such illegal acts pursuant to
9          California Penal Code § 637.2(b);
10   •     An award of costs to Plaintiff and;
11   •     Any other relief the Court may deem just and proper including interest.
12                                             INVASION OF PRIVACY
13                                        INTRUSION INTO PRIVATE AFFAIRS

14   •     Special, general, compensatory and punitive damages;
15   •     Reasonable attorneys’ fees pursuant to Cal. Code of Civ. Proc. § 1021.5;
16   •     Injunctive relief, prohibiting such conduct in the future; and,
17   •     Any other relief the Court may deem just and proper.
18                                              TRIAL BY JURY
19   72.     Pursuant to the seventh amendment to the Constitution of the United States of
20   America, Plaintiff and Class Members are entitled to, and demands, a trial by jury.
21
22
                                                           Respectfully submitted,
23
                                                           HYDE & SWIGART
24
25   Date: October 9, 2017                        By: s/Joshua Swigart
26                                                      Joshua B. Swigart, Esq.
                                                        josh@westcoastlitigation.com
27                                                      Attorney for Plaintiff
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